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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 22-CV-60929-RAR

  JESSICA KERR, et al.,

             Plaintiffs,

  v.

  ESURANCE INSURANCE COMPANY,

        Defendant.
  ____________________________________/

                                             OMNIBUS ORDER

             THIS CAUSE comes before the Court upon Defendant’s Motion to Stay or in the

  Alternative Abate Plaintiffs’ Bad Faith Action (“Defendant’s Motion”) [ECF No. 24] and

  Plaintiffs’ Motion to Dismiss Defendant’s Counterclaim for Declaratory Judgment (“Plaintiffs’

  Motion”) [ECF No. 27]. 1 On August 1, 2022, the Court held a Hearing [ECF No. 41] at which the

  parties presented oral arguments as to their respective positions on both Motions. The Court

  having considered the parties’ oral arguments, their written submissions, and the relevant case law,

  and being otherwise fully advised, it is hereby

             ORDERED AND ADJUDGED as follows:

             1.      Defendant’s Motion [ECF No. 24] is GRANTED. As discussed on the record at

                     the Hearing, it is well settled in Florida law that in third-party insurance cases, a

                     court must determine coverage and liability issues before reaching the issue of bad

                     faith. See, e.g., Solar Time, Ltd. v. XL Specialty Ins. Co., 142 F. App’x 430, 434

                     (11th Cir. 2005); Fargeon v. Am. Nat’l Prop. & Cas. Co., No. 08-60037, 2008 WL



  1
       Both Motions are fully briefed and ripe for adjudication. See [ECF Nos. 28–30, 36].
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                  11332027, at *1 (S.D. Fla. July 8, 2008); Gen. Star Indem. Co. v. Anheuser-Busch

                  Cos., 741 So. 2d 1259, 1261 (Fla. 5th DCA 1999). Accordingly, Plaintiffs’ bad

                  faith claim against Defendant is hereby ABATED pending adjudication of the

                  coverage issues presented in Defendant’s counterclaim for a declaratory judgment

                  as to its duty to indemnify.

          2.      Plaintiffs’ Motion [ECF No. 27] is GRANTED. For the reasons stated on the

                  record at the Hearing, Defendant’s Counterclaim [ECF No. 21] is DISMISSED

                  without prejudice and with leave to amend.

          3.      Defendant shall file its Amended Answer, Affirmative Defenses, Counterclaim,

                  and Third-Party Complaint on or before August 15, 2022. 2 As explained on the

                  record at the Hearing, any action based on Defendant’s duty to defend is time-

                  barred. 3 Accordingly, Defendant shall limit its Amended Counterclaim to a single

                  declaratory judgment count regarding its duty to indemnify Jennifer Carter given

                  the endorsement excluding her from Patricia Counselman’s policy with

                  Defendant. 4

          4.      Plaintiffs shall file an answer or response to Defendant’s Amended Counterclaim

                  within fourteen (14) days of its filing.




  2
    To ensure clarity and cleanliness of the record, Defendant must refile the entire pleading containing its
  dismissed counterclaim.
  3
    The Court is unpersuaded by the other two arguments presented in Plaintiffs’ Motion. See Pls.’ Mot. at
  4–5 (arguing that Defendant’s requested relief is outside the proper scope of the Declaratory Judgment Act);
  7–9 (arguing that the issues raised in Defendant’s Counterclaim are subsumed by the issues raised in
  Plaintiffs’ bad faith complaint).
  4
    Defendant’s duty to indemnify accrued when judgment was entered in the underlying action and thus is
  not time-barred, unlike its duty to defend. See Mid-Continent Cas. Co. v. Delacruz Drywall Plastering &
  Stucco, Inc., 766 F. App’x 768, 770 (11th Cir. 2019).
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        DONE AND ORDERED in Fort Lauderdale, Florida, this 2nd day of August, 2022.




                                                RODOLFO A. RUIZ II
                                                UNITED STATES DISTRICT JUDGE




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